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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION


 UNITED STATES OF AMERICA                              Case No.   3 ·. Jq,ey_()Q2J:h.M{)
                v.                                     INDICTMENT

 ANTHONY DAI TRAN,                                     21 U.S.C. §§ 841(a)(l),
                                                       841(b)(l)(C), and 846
                Defendant.
                                                       Forfeiture Allegation




                               THE GRAND JURY CHARGES:

                                           COUNT 1
                     (Conspiracy to Distribute and Possess with the Intent to
                              Distribute a Controlled Substance)
                         (21 U.S.C. §§ 841(a)(l), 84l(b)(l)(C), and 846)

       Beginning on or about and before November 7, 2015 , the exact date being unknown to

the grand jury, and continuing through June 19, 2019, within the District of Oregon and

elsewhere, defendant ANTHONY DAI TRAN knowingly, intentionally, and willfully

combined, conspired, confederated, and agreed with others both known and unknown to the

grand jury to carry out the fo llowing objects in furtherance of the conspiracy:

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                                     Objects of the Conspiracy

        1.      The conspirators did knowingly and willfully combine, conspire, confederate, and

agree to distribute and possess with the intent to distribute 3,4 methylenedioxymethamphetamine

(also known as MDMA and "Ecstasy"), a Schedule I controlled substance.

        2.      The conspirators did knowingly and willfully combine, conspire, confederate, and

agree to manufacture, distribute and possess with the intent to distribute marijuana, a Schedule I

controlled substance.

        3.      The conspirators did knowingly and willfully combine, conspire, confederate, and

agree to distribute and possess with the intent to distribute cocaine, a Schedule II controlled

substance.

                               Ways and Means of the Conspiracy

        It was part of this conspiracy that:

        1.      Defendant ANTHONY DAI TRAN and others known and unknown to the grand

jury, operated together as part of an organization collectively known as "Topflight," using the

vendor account names "Topflight," "420toU," "Topflight2.0," Signature420," on multiple Dark

  et marketplaces, to include but not limited to: Agora, Hansa, Dream Market, The Dope Shop,

and Empire in which they offered the controlled substances MDMA, marijuana, and cocaine for

sale.

        2.      Agora, Hansa, Dream Market, The D?pe Shop, and Empire are Dark Net e-

commerce sites that operated. on a hidden service of The Onion Router (Tor) network and offered

vendors a platform to sell illegal controlled substances, to include MDMA, marijuana, and

cocaine, that can be purchased by buyers using cryptocurrencies, to include bitcoin. Agora,

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Hansa, and Dream Market have since been shut down. The Dope Shop and Empire are currently

active.

          3.      The Agora, Hansa, Dream Market, and Empire sites, in addition to operating as a

platform allowing vendors to offer items for sale, also operated as an escrow service facilitating

the sale of illegal goods between vendors and buyers and provides moderation services to handle

disputes between buyers and vendors. In exchange for providing these services, Hansa, Agora,

Dream Market, and Empire would charge the vendors a commission for every transaction that

was completed.

          4.      New vendors on Hansa, Agora, Dream Market, and Empire were/are required to

post a bond in order to list their items for sale, including their sale of illegal controlled

substances.

          5.      Defendant ANTHONY DAI TRAN, working with other members of the

Topflight organization operating out of locations in the greater Seattle, Washington metropolitan

area, would fulfill orders and arrange the delivery of controlled substances to customers across

the United States, to include customers irt the greater Portland, Oregon metropolitan area. The

controlled substances supplied were for purposes of further distribution and individual use.

          6.      Members of the Topflight organization would maintain and operate illegal

marijuana grow sites within residences located in the greater Seattle, Washington metropolitan

area for growing marijuana for purposes of illegal distribution to customers across the United

States.




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       7.      The defendant ANTHONY DAI TRAN and other members of the Topflight

organization would use the U.S. Mail system to distribute packages containing the controlled

substances MDMA, marijuana, and cocaine to their customers.

                          Overt Act in Furtherance of the Conspiracy

       In furtherance of the Conspiracy, defendant ANTHONY DAI TRAN committed, but not

limited to, the following overt acts:

       1.      On or about October 30, 2018, defendant ANTHONY DAI TRAN possessed

with the intent to distribute a quantity ofMDMA.

       2.      On or about October 30, 2018, defendant ANTHONY DAI TRAN mailed a

package containing MDMA from a post office located in Federal Way, Washington, addressed to

a customer in Portland, Oregon.
                                                                                                    I
       3.      On or about November 6, 2018, defendant ANTHONY DAI TRAN possessed

with the intent to distribute a quantity ofMDMA.

       4.      On or about    ovember 6, 2018, defendant ANTHONY DAI TRAN mailed a

package containing MDMA from a post office located in Federal Way, Washington, addressed to

a customer in Portland, Oregon.

       In violation of Title 21, United States Code, Sections 841(a)(l), 841(b)(l)(C), and 846.

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                                 FORFEITURE ALLEGATION

       Upon conviction of the offense listed in Count 1, defendant ANTHONY DAI TRAN

shall forfeit to the United States, pursuant to Title 21 , United States Code, Section 853, any

property, real or personal, that was used or intended to be used to commit or to facilitate the

commission of such violations, and any property, real or personal, constituting or derived

from any proceeds obtained, directly or indirectly, as a result of such violations.

       Dated: June   _j..!l_, 2019.
                                                    A TRUE BILL.




Presented by:

BILLY J. WILLIAMS
United States Attorney




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